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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------
                                                          x
In re:                                                    :
                                                          : Chapter 11
Promise Healthcare Group, LLC,1                           :
                                                          : Case No. 18-12491 (___)
                        Debtor.                           :
                                                          : (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          : Chapter 11
HLP Healthcare, Inc.,                                     :
                                                          : Case No. 18-_______(___)
                        Debtor.                           :
                                                          : (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x




1
  The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Professional Rehabilitation Hospital,
L.L.C. (5340), Promise Healthcare #2, Inc. (1913), Promise Healthcare Group, LLC (1895), Promise Healthcare
Holdings, Inc. (2601), Bossier Land Acquisition Corp. (6644), HLP of Los Angeles, LLC (9102), HLP of Shreveport,
Inc. (1708), HLP Properties at The Villages Holdings, LLC (0006), HLP Properties at the Villages, L.L.C. (1938),
HLP Properties of Vidalia, LLC (4255), HLP Properties, Inc. (0068), Promise Healthcare of California, Inc. (9179),
Promise Healthcare, Inc. (7953), Promise Hospital of Ascension, Inc. (9219), Promise Hospital of Baton Rouge, Inc.
(8831), Promise Hospital of Dade, Inc. (7837), Promise Hospital of Dallas, Inc. (0240), Promise Hospital of East Los
Angeles, L.P. (4671), Promise Hospital of Florida at The Villages, Inc. (2171), Promise Hospital of Louisiana, Inc.
(4886), Promise Hospital of Lee, Inc. (8552), Promise Hospital of Overland Park, Inc. (5562), Promise Hospital of
Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc. (0659), Promise Hospital of Vicksburg, Inc. (2834), Promise
Hospital of Wichita Falls, Inc. (4104), Promise Properties of Dade, Inc. (1592), Promise Properties of Lee, Inc. (9065),
Promise Properties of Shreveport, LLC (9057), Promise Skilled Nursing Facility of Overland Park, Inc. (5752),
Promise Skilled Nursing Facility of Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298), Quantum Properties,
L.P. (8203), St. Alexius Hospital Corporation #1 (2766), St. Alexius Properties, LLC (4610), Success Healthcare 1,
LLC (6535), Success Healthcare 2, LLC (8861), Success Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC
(4947), LH Acquisition, LLC (2328), Promise Behavioral Health Hospital of Shreveport, Inc. (1823), Promise
Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center at the Villages, Inc. (7529), and PHG Technology
Development and Services Company, Inc. (7766). The mailing address for the Debtors, solely for purposes of notices
and communications, is 999 Yamato Road, 3rd FL, Boca Raton, FL 33431.


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In re:                                                    :
                                                          :   Chapter 11
PH-ELA, Inc.,                                             :
                        Debtor.                           :   Case No. 18-_______(___)
                                                          :
Tax I.D. No.: XX-XXXXXXX                                  :   (Joint Administration Requested)
                                                          :
--------------------------------------------------------- :

In re:                                                    :
                                                          :   Chapter 11
Professional Rehabilitation Hospital, L.L.C., :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Healthcare #2, Inc.,                              :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Healthcare Holdings, Inc.,                        :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Bossier Land Acquisition Corp.,                           :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
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In re:                                                    :
                                                          :   Chapter 11
HLP of Los Angeles, LLC,                                  :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
HLP of Shreveport, Inc.,                                  :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
HLP Properties at The Villages Holdings, LLC,:
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
HLP Properties at the Villages, L.L.C.,                   :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
HLP Properties of Vidalia, LLC,                           :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
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In re:                                                    :
                                                          :   Chapter 11
HLP Properties, Inc.,                                     :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Healthcare of California, Inc.,                   :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Healthcare, Inc.,                                 :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Hospital of Ascension, Inc.,                      :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Hospital of Baton Rouge, Inc.,                    :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
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In re:                                                    :
                                                          :   Chapter 11
Promise Hospital of Dade, Inc.,                           :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Hospital of Dallas, Inc.,                         :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Hospital of East Los Angeles, L.P., :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Hospital of Florida at The Villages, :
Inc.,                                                     :   Case No. 18-_______(___)
                                                          :
                        Debtor.                           :   (Joint Administration Requested)
                                                          :
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          ;
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In re:                                                    :
                                                          :   Chapter 11
Promise Hospital of Lee, Inc.,                            :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Hospital of Louisiana, Inc.,                      :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Hospital of Overland Park, Inc.,                  :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Hospital of Phoenix, Inc.,                        :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Hospital of Salt Lake, Inc.,                      :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
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In re:                                                    :
                                                          :   Chapter 11
Promise Hospital of Vicksburg, Inc.,                      :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Hospital of Wichita Falls, Inc.,                  :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Properties of Dade, Inc.,                         :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
--------------------------------------------------------- :
                                                          x
In re:                                                    :
                                                          :   Chapter 11
Promise Properties of Lee, Inc.,                          :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
--------------------------------------------------------- :
                                                          x
In re:                                                    :
                                                          :   Chapter 11
Promise Properties of Shreveport, LLC,                    :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
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In re:                                                    :
                                                          :   Chapter 11
Promise Skilled Nursing Facility of Overland :
Park, Inc.,                                               :   Case No. 18-_______(___)
                                                          :
                        Debtor.                           :   (Joint Administration Requested)
                                                          :
Tax I.D. No.: XX-XXXXXXX                                  :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Skilled Nursing Facility of Wichita :
Falls, Inc.,                                              :   Case No. 18-_______(___)
                                                          :
                        Debtor.                           :   (Joint Administration Requested)
                                                          :
Tax I.D. No.: XX-XXXXXXX                                  :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Quantum Health, Inc.,                                     :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Quantum Properties, L.P.,                                 :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
St. Alexius Hospital Corporation #1,                      :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
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In re:                                                    :
                                                          :   Chapter 11
St. Alexius Properties, LLC,                              :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Success Healthcare 1, LLC,                                :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Success Healthcare 2, LLC,                                :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Success Healthcare, LLC,                                  :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Vidalia Real Estate Partners, LLC,                        :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
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In re:                                                    :
                                                          :   Chapter 11
LH Acquisition, LLC,                                      :
                                                          :   Case No. 18-_______(___)
                        Debtor.                           :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Behavioral Health Hospital of                     :
Shreveport, Inc.,                                         :   Case No. 18-_______(___)
                                                          :
Debtor.                                                   :   (Joint Administration Requested)
                                                          :
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          x
---------------------------------------------------------
In re:                                                    :
                                                          :   Chapter 11
Promise Rejuvenation Centers, Inc.,                       :
                                                          :   Case No. 18-_______(___)
Debtor.                                                   :
                                                          :   (Joint Administration Requested)
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          :
--------------------------------------------------------- x
In re:                                                    :
                                                          :   Chapter 11
Promise Rejuvenation Center at the Villages, :
Inc.,                                                     :   Case No. 18-_______(___)
                                                          :
Debtor.                                                   :   (Joint Administration Requested)
                                                          :
Tax I.D. No.: XX-XXXXXXX                                  :
                                                          x
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In re:                                            :
                                                  :   Chapter 11
PHG Technology Development and Services           :
Company, Inc.,                                    :   Case No. 18-_______(___)
                                                  :
Debtor.                                           :   (Joint Administration Requested)
                                                  :
Tax I.D. No.: 82-095776                           :
                                                  x
---------------------------------------------------------
               MOTION OF THE DEBTORS FOR ENTRY OF AN ORDER
        DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

         Promise Healthcare Group, LLC (“Promise”) and its affiliated debtors and debtors in

possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter

11 Cases”), by and through their undersigned counsel, file this motion (this “Motion”) pursuant

to section 105(a) of title 11 of the United States Code (the “Bankruptcy Code”), Rule 1015(b) of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and the Rule 1015-1 of

the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for

the District of Delaware (the “Local Rules”), for entry of an order, substantially in the form

attached hereto as Exhibit A (the “Proposed Order”), directing the joint administration of these

Chapter 11 Cases. In support of the Motion, the Debtors rely on and incorporate by reference the

Declaration of Andrew Hinkelman in Support of First Day Relief (the “First Day Declaration”), and

respectfully represent as follows:

                                     JURISDICTION AND VENUE

         1.        The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware dated as of February 29, 2012. This is a core proceeding pursuant to 28

U.S.C. § 157(b)(2). Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

Pursuant to Rule 9013-1(f) of the Local Rules, the Debtors consent to the entry of a final order by
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the Court in connection with this matter to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments consistent with Article III of

the United States Constitution.

                                         BACKGROUND

         2.        On the date hereof (the “Petition Date”), each of the Debtors commenced a case

under chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses and

managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No request for the appointment of a trustee or examiner has been made in the

Chapter 11 Cases, and no committees have been appointed or designated.

         3.        A description of the Debtors’ businesses, capital structure, the reasons for

commencing the Chapter 11 Cases, the relief sought from the Court, and the facts and

circumstances supporting this Motion are set forth in the First Day Declaration filed

contemporaneously herewith.

                                     RELIEF REQUESTED

         4.        By this Motion, the Debtors request entry of the Proposed Order pursuant to

section 342(c)(1) of the Bankruptcy Code, Bankruptcy Rule 1015, and Local Rule 1015-1,

substantially in the form attached hereto as Exhibit A, (a) authorizing consolidation and joint

administration of the Debtors’ chapter 11 cases, for procedural purposes only, and (b) directing

parties in interest to use a consolidated caption, indicating that any pleading they file relates to

the jointly administered bankruptcy cases of “Promise Healthcare Group, LLC, et al.”

Specifically, the Debtors request that the Court maintain one file and one docket for all of the

jointly administered cases in the case of Promise Healthcare Group, LLC and that the cases be

administered under the following consolidated caption (the “Consolidated Caption”):

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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
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                                                               :
In re:                                                         : Chapter 11
                                                               :
PROMISE HEALTHCARE GROUP, LLC, et al.,1 : Case No. 18-12491 (_____)
                                                               :
                  Debtors.                                     : (Joint Administration Requested)
---------------------------------------------------------------x


1
  The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Professional Rehabilitation Hospital,
L.L.C. (5340), Promise Healthcare #2, Inc. (1913), Promise Healthcare Group, LLC (1895), Promise Healthcare
Holdings, Inc. (2601), Bossier Land Acquisition Corp. (6644), HLP of Los Angeles, LLC (9102), HLP of Shreveport,
Inc. (1708), HLP Properties at The Villages Holdings, LLC (0006), HLP Properties at the Villages, L.L.C. (1938),
HLP Properties of Vidalia, LLC (4255), HLP Properties, Inc. (0068), Promise Healthcare of California, Inc. (9179),
Promise Healthcare, Inc. (7953), Promise Hospital of Ascension, Inc. (9219), Promise Hospital of Baton Rouge, Inc.
(8831), Promise Hospital of Dade, Inc. (7837), Promise Hospital of Dallas, Inc. (0240), Promise Hospital of East Los
Angeles, L.P. (4671), Promise Hospital of Florida at The Villages, Inc. (2171), Promise Hospital of Louisiana, Inc.
(4886), Promise Hospital of Lee, Inc. (8552), Promise Hospital of Overland Park, Inc. (5562), Promise Hospital of
Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc. (0659), Promise Hospital of Vicksburg, Inc. (2834), Promise
Hospital of Wichita Falls, Inc. (4104), Promise Properties of Dade, Inc. (1592), Promise Properties of Lee, Inc. (9065),
Promise Properties of Shreveport, LLC (9057), Promise Skilled Nursing Facility of Overland Park, Inc. (5752),
Promise Skilled Nursing Facility of Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298), Quantum Properties,
L.P. (8203), St. Alexius Hospital Corporation #1 (2766), St. Alexius Properties, LLC (4610), Success Healthcare 1,
LLC (6535), Success Healthcare 2, LLC (8861), Success Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC
(4947), LH Acquisition, LLC (2328), Promise Behavioral Health Hospital of Shreveport, Inc. (1823), Promise
Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center at the Villages, Inc. (7529), and PHG Technology
Development and Services Company, Inc. (7766). The mailing address for the Debtors, solely for purposes of notices
and communications, is 999 Yamato Road, 3rd FL, Boca Raton, FL 33431.

         5.        The Debtors also request that the Court make separate docket entries in each of

the Debtors’ chapter 11 cases (except that of Promise Healthcare Group, LLC), substantially

similar to the following:

         An order has been entered in this case consolidating this case with the case of
         Promise Healthcare Group, LLC (Case No. 18-12491 (___)) for procedural
         purposes only and providing for its joint administration in accordance with the
         terms thereof. The docket in Case No. 18-12491 (___) should be consulted for all
         matters affecting this case.

                                             BASIS FOR RELIEF

         6.        Bankruptcy Rule 1015(b)(4) provides that, if two or more petitions are pending in

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the same court by or against a debtor and an affiliate, “the court may order a joint administration

of the estates.” Fed. R. Bankr. P. 1015(b). The Debtors in these Chapter 11 Cases are “affiliates”

as that term is defined in section 101(2) of the Bankruptcy Code:

                 (A) entity that directly or indirectly owns, controls, or holds with
                 power to vote, 20 percent or more of the outstanding voting
                 securities of the debtor . . . .

                 (B) corporation 20 percent or more of whose outstanding voting
                 securities are directly or indirectly owned, controlled, or held with
                 power to vote, by the debtor, or by an entity that directly or indirectly
                 owns, controls, or holds with power to vote, 20 percent or more of
                 the outstanding voting securities of the debtor . . . .

                 (C) person whose business is operated under a lease or operating
                 agreement by a debtor, or person substantially all of whose property
                 is operated under an operating agreement with the debtor; or

                 (D) entity that operates the business or substantially all of the
                 property of the debtor under a lease or operating agreement.

         7.        Moreover, section 105(a) of the Bankruptcy Code provides the Court with the

power to grant the relief requested herein by permitting the Court to “issue any order, process, or

judgment that is necessary or appropriate to carry out the provisions of the [Bankruptcy Code].”

11 U.S.C. § 105(a).

         8.        In addition, Local Rule 1015-1 provides additional authority for the Court to

order joint administration of these Chapter 11 Cases:

                 An order of joint administration may be entered, without notice and
                 an opportunity for hearing, upon the filing of a motion for joint
                 administration pursuant to Bankruptcy Rule 1015, supported by an
                 affidavit, declaration or verification, which establishes that the joint
                 administration of two or more cases pending in this Court under title
                 11 is warranted and will ease the administrative burden for the Court
                 and the parties . . . .

         9.        Joint administration of the Debtors’ cases is warranted because it will ease the

administrative burden on the Court and the parties. Joint administration of the Debtors’ cases will
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eliminate the need for duplicate pleadings, notices, and orders in each of the respective dockets

and will save the Court, the Debtors, and other parties in interest substantial time and expense

when preparing and filing such documents. Further, joint administration will protect parties in

interest by ensuring that they will be apprised of the various motions filed with the Court with

respect to each of the Debtors’ cases. Therefore, joint administration of the Debtors’ chapter 11

cases is appropriate under Bankruptcy Rule 1015(b) and Local Rule 1015.

         10.       Moreover, joint administration of these Chapter 11 Cases will not adversely affect

the Debtors’ respective constituencies because the motion requests only administrative, not

substantive, consolidation of the Debtors’ estates.

         11.       An order of joint administration relates to the routine administration of a case and

may be entered by the Court in its sole discretion on an ex parte basis. See Local Rule 1015-1.

The Debtors submit that no party will be prejudiced by virtue of the relief requested in this Motion.

Specifically, the relief sought herein is solely procedural and is not intended to affect substantive

rights. Indeed, the relief requested in this Motion is commonly granted by this Court. See, e.g., In

re Welded Construction, L.P., Case No. 18-12378 (KG) (Bankr. D. Del. Oct. 23, 2018) [D.I. 33]

(order directing joint administration of chapter 11 cases); In re ATD Corp., Case No. 18-12221

(KJC) (Bankr. D. Del. Oct. 5, 2018) [D.I. 97] (same); In re ONE Aviation Corp., Case No. 18-

12309 (CSS) (Bankr. D. Del. Oct. 10, 2018) [D.I. 40] (same); In re Brookstone Holdings Corp.,

Case No. 18-11780 (BLS) (Bankr. D. Del. Aug. 3, 2018) [D.I. 64] (same); In re Open Roads Films,

Case No. 18-12012 (LSS) (Bankr. D. Del. Sept. 7, 2018) [D.I. 42] (same); In re Claire’s Stores,

Inc., Case No. 18-10584 (MFW) (Bankr. D. Del. Mar. 20, 2018) [D.I. 92] (same).2


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  The referenced orders are voluminous in nature and, therefore, are not attached to this Motion; however, in
accordance with Local Rule 7007-2, as made applicable to main cases by the Court’s General Chambers Procedures,
the Debtors’ proposed counsel has copies of each order and will make them available to the Court or to any party that
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         12.       For these reasons, the Debtors submit that the relief requested herein is in the best

interest of the Debtors, their estates, creditors and other parties in interest and, therefore, should

be granted. No previous request for the relief sought herein has been made to this or any other

court.

                                                 NOTICE

         13.       The Debtors have provided notice of the filing of the Motion to: (i) the Office of

the United States Trustee; (ii) the Debtors’ 30 largest unsecured creditors on a consolidated basis;

(iii) counsel to Wells Fargo, N.A., as administrative agent under the Debtors’ prepetition credit

facility; (iv) the Internal Revenue Service; (v) the United States Attorney for the District of

Delaware; (vi) the United States Department of Justice; (vii) the State Attorney General’s Office

in each state where the Debtors operate; and (viii) any party that has requested notice pursuant to

Bankruptcy Rule 2002 (collectively, the “Notice Parties”). As this Motion is seeking “first day”

relief, notice of this Motion and any order entered in connection with the Motion will be served

on all parties required by Local Rule 9013-1(m). Due to the urgency of the circumstances

surrounding this Motion and the nature of the relief in it, the Debtors respectfully submit that no

further notice of this Motion is required.

                              [Remainder of Page Intentionally Left Black]




requests them. Additionally, the Orders are available on the Court’s CM/ECF PACER site at the cited docket index
numbers and on the dates specified above.
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          WHEREFORE, the Debtors respectfully request entry of the Proposed Order granting

the relief requested herein and such other and further relief as the Court may deem just and

proper.

Dated: November 5, 2018                     DLA PIPER LLP (US)
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                                            Debtors in Possession




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